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                               EXHIBIT 1
Case 1:20-cv-00136-RGA-JLH Document 112-1 Filed 04/18/22 Page 2 of 22 PageID #: 2362
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                                                        [4] compulsory-counterclaim rule did not allow
                2022 WL 1052320                         entry of judgment of non-infringement as to non-
  Only the Westlaw citation is currently available.     counterclaimed patents.
  United States Court of Appeals, Federal Circuit.
                                                        Affirmed in part, reversed in part, vacated in part, and
    ROCHE DIAGNOSTICS CORPORATION,
                                                        remanded.
    Plaintiff/Counterclaim Defendant-Appellant
               BioVeris Corporation,
                                                        Newman, Circuit Judge, filed dissenting opinion.
        Counterclaim Defendant-Appellant
                        v.                              Procedural Posture(s): On Appeal; Motion for New
      MESO SCALE DIAGNOSTICS, LLC,                      Trial; Motion for Judgment as a Matter of Law
    Defendant/Counterclaimant-Cross-Appellant           (JMOL)/Directed Verdict; Request for Declaratory
                                                        Judgment.
                2021-1609, 2021-1633
                          |
                Decided: April 8, 2022                   West Headnotes (22)

Synopsis
Background: Competitor brought action against            [1]    Courts      Particular questions or
research and development (R&D) company for                      subject matter
declaratory judgment of non-infringement of                     Federal Circuit applies regional circuit's
company's rights arising from R&D company's                     law to review the district court's denial
joint venture license agreement with original                   of motion for judgment as matter of
owner of patents concerning immunoassays that                   law (JMOL) or for new trial in patent
exploited electrochemiluminescence (ECL). Company               infringement action.
counterclaimed for patent infringement. The United
States District Court for the District of Delaware,
Leonard P. Stark, J., 503 F.Supp.3d 156, entered         [2]    Federal Courts       Taking case or
judgment upon a $137,250,000 jury verdict for                   question from jury; judgment as a matter
R&D company and denied competitor's post-trial                  of law
motions. Competitor appealed and R&D company                    Federal Courts       Taking case or
cross-appealed.                                                 question from jury; judgment as a matter
                                                                of law
                                                                Under Third Circuit law, the Court of
Holdings: The Court of Appeals, Prost, Circuit Judge,           Appeals reviews de novo the denial of
held that:                                                      a motion for judgment as matter of law
                                                                (JMOL), viewing record in light most
[1] patent for work that was part of research program           favorable to verdict winner and drawing
was within scope of license agreement for purposes of           all reasonable inferences in its favor.
direct infringement claim;

[2] competitor lacked requisite intent to induce         [3]    Federal Courts      New Trial,
infringement of patents that predated research                  Rehearing, or Reconsideration
program;                                                        Under Third Circuit law, the Court of
                                                                Appeals reviews denial of new trial for
[3] competitor did not commit affirmative acts of               abuse of discretion.
inducement during limitations period; and




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                                                           by a proper finding of willful blindness.
 [4]   Patents      Presentation and
       Reservation in Lower Court of Grounds                  35 U.S.C.A. § 271(b).
       of Review
       Appellant's argument made in passing
       only in a footnote was not sufficient to     [8]    Patents       Inducement to infringe
       preserve the argument for review in patent          With respect to the intent element
       infringement action.                                of induced infringement, “willful
                                                           blindness” is characterized by two basic
                                                           requirements: (1) the defendant must
 [5]   Patents     Construction and Operation              subjectively believe that there is a high
       of Licenses                                         probability that a fact exists and (2) the
                                                           defendant must take deliberate actions to
       Patent for electrochemiluminescence
       (ECL) technology used in immunoassays,              avoid learning of that fact.   35 U.S.C.A.
       which was subject of research and                   § 271(b).
       development (R&D) company's claim of
       direct infringement by its competitor, was
       within scope of joint venture license        [9]    Patents       Inducement to infringe
       agreement between R&D company and                   A defendant's willful blindness, for
       predecessor-in-interest of patent owner             purposes of the intent element of induced
       that competitor's affiliate later acquired          infringement, is a standard of limited
       along with over 100 patents, where license          scope that surpasses recklessness and
       agreement provided that R&D company
       had an exclusive license to practice the            negligence.     35 U.S.C.A. § 271(b).
       ECL technology to make, use, and sell
       products or processes “developed” in
       course of research program, and work that    [10]   Patents       Inducement to infringe
       was done in patent was part of research             Intent standard for induced infringement
       program.                                            focuses on, and can be met by proof
                                                           of, the defendant's subjective state of
                                                           mind, whether actual knowledge or the
 [6]   Patents      Inducement to infringe                 subjective beliefs (coupled with action to
       A defendant is liable for induced                   avoid learning more) that characterizes
       infringement if the defendant took                  willful blindness.        35 U.S.C.A. §
       certain affirmative acts to bring about             271(b).
       the commission by others of acts
       of infringement and had knowledge
       that the induced acts constitute patent      [11]   Patents       Inducement to infringe
       infringement.    35 U.S.C.A. § 271(b).              The specific intent required for induced
                                                           infringement is not that the alleged
                                                           infringer knew or should have known his
 [7]   Patents      Inducement to infringe                 actions would induce actual infringement.
       The intent element of induced                          35 U.S.C.A. § 271(b).
       infringement requires knowledge that
       the induced acts constitute patent
       infringement, which can be established       [12]   Patents    Biological Subject Matter;
                                                           Biotechnology



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        Competitor whose affiliate acquired
        owner          of         patents        for   [14]   Patents      Inducement to infringe
        electrochemiluminescence             (ECL)            Sales without restrictive labels are not
        technology used in immunoassays                       acts of inducement of patent infringement,
        lacked requisite intent to induce                     where the products have both in-
        infringement of ECL patents that                      field (non-infringing) and out-of-field
        predated research program created by
                                                              (infringing) applications.   35 U.S.C.A.
        joint venture license agreement between
                                                              § 271(b).
        patent owner's predecessor-in-interest
        and research and development (R&D)
        company as licensee; competitor had
                                                       [15]   Patents     Reasonable royalty;
        a subjective belief that it was not
                                                              hypothetical negotiation
        inducing infringement based on its
        reasonable interpretation of relevant                 Where a royalty is at issue for patent
        contract provisions and its reasonable                infringement, no matter what the form of
        belief that acquisition of patent owner and           the royalty, a patentee must take care to
        over 100 patents for $600 million meant               seek only those damages attributable to
        the elimination of field-of-use restrictions          the infringing features.
        in competitor's nonexclusive license from
        predecessor for ECL technology in field
        of human patient diagnostics, and, hence,      [16]   Patents      Profits and damages

        no possibility of patent liability.      35           Where a royalty is at issue for patent
        U.S.C.A. § 271(b).                                    infringement, all expert damages opinions
                                                              must separate the value of the allegedly
                                                              infringing features from the value of all
                                                              other features.
 [13]   Patents    Biological Subject Matter;
        Biotechnology
        Competitor whose affiliate acquired
                                                       [17]   Patents     Reasonable royalty;
        owner         of         patents        for
                                                              hypothetical negotiation
        electrochemiluminescence            (ECL)
        technology used in immunoassays                       While a damages theory for patent
        did not commit affirmative acts                       infringement that is dependent on a
        of inducement during patent-damages                   comparable license or a comparable
        limitations period, with respect to                   negotiation may in some cases have built-
        alleged infringement of ECL patents                   in apportionment, the license must be
        that predated research program created                sufficiently comparable in that principles
        by joint venture license agreement                    of apportionment were effectively baked
        between patent owner's predecessor-in-                into the purportedly comparable license.
        interest and research and development
        (R&D) company as licensee, where
        competitor's press release, customer letter,   [18]   Patents      Compulsory or permissive
        and decision to stop affixing field-                  Compulsory-counterclaim   rule   did
        restriction labels on products it sold                not allow district court to enter
        following acquisition of patent owner                 judgment of non-infringement as
        and over 100 patents occurred well                    to non-counterclaimed patents for
        before damages period.        35 U.S.C.A.             electrochemiluminescence (ECL) that
        §§ 271(b), 286.                                       competitor listed in its declaratory
                                                              judgment complaint but that were



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        not subject of patent infringement              represented by Jeffrey Costakos, Kimberly Kristin
        counterclaims asserted by research and          Dodd, Eric Maassen.
        development (R&D) company; rule
        barred future claims but did not authorize      John Hughes, Bartlit Beck LLP, Denver, CO, argued
        a rendering of adverse judgment on such         for defendant/counterclaimant-cross-appellant. Also
        claims in same action. Fed. R. Civ. P. 13.      represented by Nosson Knobloch, Daniel Taylor;
                                                        Steven Derringer, Anastasiya Maione, Chicago, IL.

                                                        Before Newman, Prost, and Taranto, Circuit Judges.
 [19]   Federal Civil
        Procedure     Compulsory                        Opinion
        Counterclaims
        Res Judicata       Set-off or                   Dissenting opinion filed by Circuit Judge Newman.
        counterclaim
        Compulsory-counterclaim rule bars future        Prost, Circuit Judge.
        claims but does not authorize a district
                                                         *1 Roche Diagnostics Corporation and BioVeris
        court to render an adverse judgment on
                                                        Corporation (collectively, “Roche”) appeal a final
        such claims in same action. Fed. R. Civ.
                                                        judgment from the District of Delaware sustaining the
        P. 13.
                                                        jury's verdict that Roche violated exclusive license
                                                        rights belonging to Meso Scale Diagnostics, LLC
                                                        (“Meso”) by directly infringing one patent claim
 [20]   Patents      In general; utility                and inducing infringement of three other patent
        US Patent        5,935,779, US Patent           claims. We affirm on direct infringement, reverse on
                                                        induced infringement, vacate the damages award, and
           6,165,729. Not Infringed.
                                                        remand for a new trial on damages. 1 On Meso's
                                                        cross-appeal, we vacate the district court's judgment
                                                        of noninfringement with respect to three additional
 [21]   Patents      In general; utility                patents and remand.
        US Patent        6,451,225, US Patent
           6,881,536, US Patent            6,881,589.
        Cited.                                                            BACKGROUND

                                                        The patents-in-suit concern immunoassays that exploit
                                                        a phenomenon called electrochemiluminescence
 [22]   Patents      In general; utility                (“ECL”). Meso doesn't own these patents. Indeed,
                                                        appellant BioVeris (a Roche entity) does. But Meso
        US Patent    6,808,939. Infringed in Part.
                                                        maintains that a prior owner, IGEN International,
                                                        Inc. (“IGEN”), granted it exclusive rights to the
                                                        patent claims it now asserts against Roche (which
                                                        sells instruments and reagent packs for performing
Appeals from the United States District Court for the   ECL immunoassays). We briefly recount the parties'
District of Delaware in No. 1:17-cv-00189-LPS, Judge    relevant licensing and litigation histories below.
Leonard P. Stark.
                                                        Meso was formed in 1995 pursuant to a joint
Attorneys and Law Firms                                 venture agreement between IGEN and Meso Scale
                                                        Technologies, a company owned by Jacob Wohlstadter
James McKeown, Foley & Lardner LLP, Milwaukee,
WI, argued for plaintiff/counterclaim defendant-        (son of IGEN CEO Samuel Wohlstadter).       Roche
appellant and counterclaim defendant-appellant. Also    Diagnostics Corp. v. Meso Scale Diagnostics, LLC,



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503 F. Supp. 3d 156, 163 (D. Del. 2020) (“Post-Trial       that in the interim customers should “please ignore
Op.”). The agreement specified a “Research Program”        the restrictions.” J.A. 5898; see also J.A. 5901–06.
for Meso to perform and included a license agreement       Then Roche began selling the products without field
                                                           restrictions, as it said it would. J.A. 4540.
—the scope of which is contested here.       Id. at 163–
64.
                                                           Meso sued Roche in the Delaware Court of Chancery
                                                           in 2010, alleging that Roche breached the 2003 license
Roche, too, has a licensing history with IGEN. In 1998,
not long after Meso embarked on its joint venture          with IGEN by violating the field restriction.  Post-
with IGEN, Roche acquired Boehringer Mannheim              Trial Op., 503 F. Supp. 3d at 164. The chancery
GmbH (“Boehringer”), which IGEN had previously             court determined that Meso was not a party to the
licensed in 1992 to develop, use, manufacture, and sell    2003 license agreement, such that only BioVeris (as
ECL assays and instruments in a particular field. 2 In     IGEN's successor-in-interest) could enforce the field
doing so, Roche inherited Boehringer's license rights,     restriction. Id.; see Meso Scale Diagnostics, LLC
including that field restriction.   Id. at 163.            v. Roche Diagnostics GmbH, No. CIV.A. 5589-VCP,
                                                           2014 WL 2919333 (Del. Ch. June 25, 2014), aff'd, 116
In 2003, IGEN and Roche terminated the 1992                A.3d 1244 (Del. 2015).
agreement and executed a new agreement granting
Roche a nonexclusive license to IGEN's ECL                 And in 2017, Roche brought this suit seeking
technology in the field of “human patient diagnostics.”    a declaratory judgment that it doesn't infringe
                                                           Meso's rights arising from the 1995 joint venture
   Id. at 164; Roche Diagnostics Corp. v. Meso Scale       license agreement. Summary Judgment Op., 2019
Diagnostics, LLC, No. CV 17-189-LPS, 2019 WL               WL 1332407, at *1. Meso counterclaimed for patent
1332407, at *2 (D. Del. Mar. 21, 2019) (“Summary           infringement. Id. At summary judgment, Roche argued
Judgment Op.”). Although this license required Roche       that Meso's 1995 license didn't convey the rights Meso
to note this new field restriction on its product          asserts. The district court denied Roche's summary
packaging, J.A. 5448–49, the license permitted sales       judgment motion and the parties tried the case to a
that resulted in incidental out-of-field use and allowed
such sales to continue (absent express prohibition from    jury.    Post-Trial Op., 503 F. Supp. 3d at 166. The
IGEN) so long as IGEN received 65% of the resulting        jury found that Meso holds an exclusive license to the
revenues. J.A. 5438. As part of this transaction, Roche    asserted patent claims, that Roche directly infringed
paid IGEN and its shareholders about $1.4 billion,         claim 33 of     U.S. Patent No. 6,808,939 (“the '939
IGEN transferred its ECL patents (including those          patent”), that Roche induced infringement of claim 1
asserted here) to the newly formed BioVeris, and
                                                           of    U.S. Patent No. 5,935,779 (“the '779 patent”)
IGEN shareholders received shares of BioVeris stock.
                                                           and claims 38 and 44 of      U.S. Patent No. 6,165,729
   Post-Trial Op., 503 F. Supp. 3d at 164; J.A. 4230.
                                                           (“the '729 patent”), and that Roche's infringement was
                                                           willful. J.A. 3718–24. It awarded Meso $137,250,000
 *2 Later, in 2007, a Roche affiliate acquired BioVeris
(including over 100 patents) for approximately $600        in damages.    Post-Trial Op., 503 F. Supp. 3d at 163.
million.     Post-Trial Op., 503 F. Supp. 3d at 164.
                                                           The district court denied Roche's post-trial motions
Roche announced this acquisition in a press release
                                                           challenging the infringement verdict and damages
stating it would now “own the complete patent estate
of the electrochemiluminescence (ECL) technology,”         award.    Id. at 169–70, 174. But it granted
giving it “the opportunity to fully exploit the entire     Roche's motion for judgment as a matter of law
immunochemistry market” and ensuring its ability to        (“JMOL”) on willfulness and denied Meso's motions
“provide unrestricted access to all customers.” J.A.
                                                           to enhance damages. Id. at 172–74. Additionally, at
6036. Roche also prepared a customer letter indicating
                                                           Roche's request, the court rendered a noninfringement
that the field-restriction labels were “now obsolete”
                                                           judgment with respect to three additional patents
and would be “removed as soon as possible,” but



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                                                                        IGEN Technology to make, use
—     U.S. Patent Nos. 6,451,225 (“the '225 patent”),
                                                                        and sell products or processes
   6,881,536 (“the '536 patent”), and    6,881,589                      (A) developed in the course
(“the '589 patent”)—on the ground that Meso waived                      of the Research Program,
compulsory infringement counterclaims as to those                       or (B) utilizing or related
patents. Id. at 170–71; Roche Diagnostics Corp.                         to the Research Technologies;
v. Meso Scale Diagnostics, LLC, No. CV 17-189-LPS-                      provided that IGEN shall not
CJB, 2020 WL 8409662, at *2 (D. Del. Dec. 23,                           be required to grant [Meso]
2020). Roche appeals and Meso cross-appeals. We                         a license to any technology
have jurisdiction under 28 U.S.C. § 1295(a)(1).                         that is subject to exclusive
                                                                        licenses to third parties granted
                                                                        prior to the date hereof. In
                                                                        the event any such exclusive
                    DISCUSSION                                          license terminates, or IGEN is
                                                                        otherwise no longer restricted
 [1]     [2]    [3] Roche challenges (I) the scope of
                                                                        by such license from licensing
Meso's license rights, (II) the induced-infringement
                                                                        such technology to [Meso],
verdict, and (III) the damages award. On cross-appeal,
                                                                        such technology shall be, and
Meso challenges the district court's application of the
                                                                        hereby is, licensed to [Meso]
compulsory-counterclaim rule. We review the denial
                                                                        pursuant thereto.
of Roche's JMOL and new-trial motions under the
law of the regional circuit.    Leader Techs., Inc. v.
Facebook, Inc., 678 F.3d 1300, 1305 (Fed. Cir. 2012).       J.A. 5209. Meso argues that prong A grants it rights in
The Third Circuit reviews the denial of JMOL de novo,
“viewing the record in the light most favorable to the      all the asserted patent claims—namely,      '939 patent
verdict winner and drawing all reasonable inferences        claim 33,    '779 patent claim 1, and     '729 patent
in its favor.” Id. (citing Eddy v. V.I. Water & Power       claims 38 and 44. And it argues that prong B grants it
Auth., 369 F.3d 227, 230 (3d Cir. 2004)). It reviews        rights in '729 patent claims 38 and 44. We assess the
the denial of a new trial for abuse of discretion.    Id.   two prongs in turn below.
(citing Foster v. Nat'l Fuel Gas Co., 316 F.3d 424, 429–
30 (3d Cir. 2003)).
                                                                                       A

                                                            First we analyze prong A, Meso's right “to practice the
                 I. LICENSE SCOPE
                                                            IGEN technology to make, use and sell products or
 *3 First, Roche disputes the scope of Meso's rights        processes (A) developed in the course of the Research
                                                            Program.” J.A. 5209.
in “IGEN Technology” 3 under the 1995 license
agreement. This is the only ground on which Roche
                                                            At summary judgment, Roche argued that this
challenges the direct-infringement judgment, and it's
                                                            provision granted Meso “an exclusive license only to
one of multiple grounds on which Roche challenges the
                                                            use ECL technology to make, use, or sell those specific
induced-infringement judgment. The pertinent license
                                                            products and processes that were advancements and
provision, Section 2.1., has two prongs—A and B:
                                                            improvements created in the Research Program.”
                                                            Summary Judgment Op., 2019 WL 1332407, at *4
                                                            (quoting Roche's summary judgment brief). Meso,
             2.1. IGEN Technology. IGEN                     on the other hand, said this provision grants it “an
             hereby grants to [Meso] an                     exclusive right to practice [the] patent claims, a right
             exclusive, worldwide, royalty-                 which was triggered by the development during the
             free license to practice the                   Research Program of products and processes that are


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covered by those claims.” Id. “Roche's interpretation
would limit Meso's exclusive rights to the specific          Roche's arguments have considerable heft, especially
products and processes developed in the Research             on the plain language. As we read the license
Program, while Meso's interpretation would more              agreement, we consider Roche's interpretation a
broadly extend Meso's exclusive rights to any product        natural reading while Meso's is a strained one.
or process (whenever developed) that practices the           But ultimately, we need not decide between the
claims of IGEN's patents.” Id.                               two interpretations of “developed.” That dispute
                                                             concerns only the        '779 and      '729 patents—
In assessing these arguments, the district court
                                                             because they predated the research program of the joint
noted that the dispute hinged largely on the word
                                                             venture—and in any event we reverse the induced-
“developed.” Id. at *4–5. Roche, relying on the
                                                             infringement judgment regarding those patents for
agreement's definition of “developed product,” 4             reasons independent of the license-interpretation issue,
argued that the products “developed” in the research         as explained in section (II) below.
program were the fruits of that program—i.e., the
products that arose out of the program. Id. at *4–5.
                                                              [4]    [5] The      '939 patent, by contrast, did not
Meso, for its part, argued that the ordinary meaning of
                                                             predate the joint venture's research program. Rather,
“developed” is broader: “one can develop something
                                                             as the manager of that program testified at trial, “[t]he
that already exists, for instance, by improving or
                                                             work that was done in this patent was part of the
otherwise changing it.” Id. (internal quotation marks
                                                             research program.” J.A. 4327. Roche didn't dispute
omitted). Under Meso's reading, the agreement granted
rights to patent claims as soon as Meso “developed”          this fact. See Post-Trial Op.,    503 F. Supp. 3d at
technology covered by them—indeed, even if Meso              168. Nor has Roche provided any persuasive reason
merely improved (i.e., further developed) preexisting        why, even under its own interpretation of “developed,”
technology covered by them. Id. The court denied
                                                             the asserted     '939 patent claim wasn't “developed in
summary judgment because, in its view, the parties
                                                             the course of the Research Program.” J.A. 5209. The
articulated more than one reasonable interpretation. Id.
                                                             most Roche offers on this score is a footnote arguing
at *5. After the jury ultimately agreed with Meso, the
                                                             generally that “the evidence at trial was insufficient for
district court concluded that the jury chose between
                                                             the jury to find that Meso held exclusive rights to the
two reasonable views.      Post-Trial Op., 503 F. Supp.
                                                             entirety of the   '939 patent claim” and citing further
3d at 166–69.
                                                             course-of-conduct evidence. Appellant's Br. 27 n.4.
                                                             But this argument, “made in passing only in a footnote,
 *4 Roche makes two principal arguments on appeal
                                                             is not sufficient under our precedents to preserve
regarding this provision. First, Roche relies on the
                                                             an argument for review.” ConocoPhillips v. United
provision's plain language. “On its face,” Roche
                                                             States, 501 F.3d 1374, 1381 (Fed. Cir. 2007) (citing
argues, “this language gave Meso the exclusive right to
make, use and sell any new products or improvements                 SmithKline Beecham Corp. v. Apotex Corp.,
created or invented during the Research Program.”            439 F.3d 1312, 1320 (Fed. Cir. 2006) (“[A]rguments
Appellant's Br. 23. Second, Roche relies on the parties'     raised in footnotes are not preserved.”)). Without more,
course of conduct. Specifically, Roche points out that       we're unpersuaded that claim 33 of the      '939 patent
even though the agreement “specified that Meso would         is outside the license agreement—even accepting
be the exclusive means for ‘making, using and selling        Roche's plain-language interpretation. Accordingly,
products, processes and services developed in the            we affirm the district court's denial of JMOL regarding
course of the Research Program in the Diagnostic
Field,’ ” IGEN, BioVeris, and Roche “continued to            prong A with respect to   '939 patent claim 33, and
sell” the relevant products “through 2007 without any        we do not reach Meso's rights under this prong with
objection by Meso.” Appellant's Br. 26 (quoting J.A.         respect to the    '779 and     '729 patent claims.
5111). From this, Roche reasons that “neither IGEN
nor Meso understood or interpreted [prong A] to grant
exclusive rights to the entirety of the patent claim.” Id.


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                                                             reasonable jury to find that TPA is within the definition
                            B                                of Research Technologies.”       Id. at 168–69. And
                                                             on appeal, the parties analyze the intent underlying
The parties also dispute the scope of Meso's rights          prong B at two different levels of generality—with
under prong B “to practice the IGEN technology to            Roche asking whether prong B was meant to cover
make, use and sell products or processes ... (B) utilizing   TPA in particular (answering no) and Meso asking
or related to the Research Technologies.” J.A. 5209.         whether prong B was meant more generally to cover
                                                             the “airspace above the electrode surface” (answering
This language was also contested at summary                  yes).
judgment. Roche argued that a co-reactant called
tripropylamine (“TPA”) isn't within the term                  *5 While the jury sided with Meso on both prongs,
“Research Technologies”—a category defined by the            the district court made clear its view that “Roche's
agreement to include “agent[s] to extend the electric        interpretation of the operative contracts was entirely
potential of an electrode in the direction perpendicular
to its surface.” Summary Judgment Op., 2019 WL               reasonable.” Post-Trial Op., 503 F. Supp. 3d at 173.
1332407, at *6. The district court saw this as a genuine     Ultimately, as with prong A, we need not determine
factual dispute, denying Roche's summary judgment            whether the district court was right to sustain the
motion. Id.                                                  jury's verdict that prong B confers on Meso the rights
                                                             necessary to assert that Roche induced infringement of
As with prong A, the jury agreed with Meso and the               '729 patent claims 38 and 44. Again, even assuming
district court denied JMOL—“viewing the evidence             Meso possesses those rights, we nonetheless reverse
in the light most favorable to Meso and giving it the        the induced-infringement judgment for the reasons
advantage of every fair and reasonable inference.”           articulated below.
   Post-Trial Op., 503 F. Supp. 3d at 169. Along the
way, the court noted that by the time of trial there was
“no dispute that TPA comes within the definition of                    II. INDUCED INFRINGEMENT
Research Technologies,” although this wasn't known
                                                             As prefigured above, we reverse the district court's
at the time of the agreement.    Id. at 168. Indeed,
                                                             judgment that Roche induced infringement of the
“it was not until 1999—four years after the 1995
License was executed—that the scientific field came to       asserted    '779 and       '729 patent claims. Our
understand that TPA reactions could occur away from          decision in that regard rests on two independent
                                                             grounds: (A) absence of intent, and (B) absence of
the electrode surface.”   Id. Roche argued, therefore,
                                                             an inducing act that could support liability during the
that “a reasonable jury could not have found that
the parties intended for TPA to qualify as an agent          damages period set forth in 35 U.S.C. § 286. 5
that extends the electric potential of an electrode in
a direction perpendicular to its surface,” even though
it undisputedly does.     Id. (internal quotation marks                                 A
omitted). In sustaining the jury's verdict, the district
                                                             [6]     [7] “Whoever actively induces infringement
court noted Jacob Wohlstadter's testimony that “the
purpose behind the phrase ‘agents to extend’ ... was         of a patent shall be liable as an infringer.”     35
to capture the ‘airspace above the electrode surface’ ...    U.S.C. § 271(b). “A defendant is liable for ‘induced
and that this was not meant to be limited to any             infringement under      § 271(b)’ if the defendant took
specific compound or chemical.”      Id. (quoting J.A.       certain affirmative acts to bring about the commission
4216). Again, the district court “presume[d] that the        by others of acts of infringement and had ‘knowledge
jury drew these reasonable inferences, and all others        that the induced acts constitute patent infringement.’
permitted by the record, in Meso's favor,” ultimately        ”     TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1286
deciding “[t]here was sufficient evidence to allow a



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                                                          here—“that Cisco knew or should have known
(Fed. Cir. 2020) (quoting   Global-Tech Appliances,
                                                          that its actions would induce actual infringement”—
Inc. v. SEB S.A., 563 U.S. 754, 765–66, 131 S.Ct.
2060, 179 L.Ed.2d 1167 (2011)). “The intent element       incorrectly stated “a negligence standard.”          Id.
requires ‘knowledge that the induced acts constitute      Under the proper standard, the jury's inducement
patent infringement,’ which can be established by a       conclusion is unsupportable. As explained below,
                                                          the district court's findings regarding willfulness and
proper finding of ‘willful blindness.’ ”   Id. (quoting
                                                          enhancement compel the conclusion in this particular
   Global-Tech, 563 U.S. at 766–71, 131 S.Ct. 2060).      case that Roche lacked the requisite intent for
                                                          inducement under the proper standard.
 [8]     [9]      [10] Willful blindness, in turn, is
characterized by “two basic requirements: (1) The         *6 The district court granted Roche's JMOL motion
defendant must subjectively believe that there is a high regarding willfulness by concluding that “at no
probability that a fact exists and (2) the defendant     time did Roche have a subjective intent to infringe
must take deliberate actions to avoid learning of that
                                                         (or induce infringement of) Meso's patent rights.” 6
fact.” Global-Tech, 563 U.S. at 769, 131 S.Ct. 2060.
                                                             Post-Trial Op., 503 F. Supp. 3d at 173. This,
Willful blindness is a standard of “limited scope that
                                                         the district court explained, “follows logically” from
surpasses recklessness and negligence.”         Id. The  “Roche's reasonable interpretation of the contract
intent standard for inducement, therefore, “focuses      provisions,” under which “Roche had no liability to
on, and can be met by proof of, the defendant's
                                                         Meso for patent infringement.”          Id. And “[w]hile
subjective state of mind, whether actual knowledge or
                                                         the jury sided with Meso” on the license language,
the subjective beliefs (coupled with action to avoid
                                                         the court noted, “the jury could have alternatively—
learning more) that characterizes willful blindness.”
                                                         and reasonably—sided with Roche.”           Id. Although
    TecSec, 978 F.3d at 1286.
                                                         the district court recognized that “Roche's burden ...
                                                         to set aside the jury's willfulness finding [was] a
 [11] [12] Here, Roche argues that the district court
                                                         heavy one,” it concluded nevertheless that Roche “met
in denying JMOL “incorrectly applied a negligence
                                                         its burden under the unusual circumstances presented
standard rather than requiring specific intent for
inducement.” Appellant's Br. 37. In support, Roche       here.”       Id. at 172 (cleaned up). Further, in the
points to the court's statement that “[t]he specific     portion  of  its decision declining to enhance damages,
intent required for induced infringement is that the     the district court noted “[t]he evidence demonstrates
alleged infringer knew or should have known his          that Roche had a good faith belief in its reasonable
                                                         interpretation of the relevant contract provisions,” and
actions would induce actual infringement.”         Post-
                                                         it also relied on Roche's “good faith, reasonable belief
Trial Op., 503 F. Supp. 3d at 169. We agree with
                                                         that the [BioVeris] acquisition meant the elimination of
Roche that this misstates the governing intent standard.
                                                         field-of-use restrictions—and, hence, no possibility of
While it's true that we previously applied a “knew
or should have known” formulation, we've since           patent liability.”     Id. at 179–80.
made clear that, “to the extent our prior case law
allowed the finding of induced infringement based         In some respects, the intent standard for inducement
on recklessness or negligence, such case law is           is akin to the one for willfulness, as both rest on the

inconsistent with    Global-Tech and no longer good       subjective intent of the accused infringer.      TecSec,

law.”      Commil USA, LLC v. Cisco Sys., Inc.,           978 F.3d at 1286–87 (citing        Halo Elecs., Inc. v.
720 F.3d 1361, 1366 (Fed. Cir. 2013), vacated in          Pulse Elecs., Inc., 579 U.S. 93, 136 S. Ct. 1923, 1933,
                                                          195 L.Ed.2d 278 (2016)). Here, the jury's verdict of
part on other grounds,       575 U.S. 632, 135 S.Ct.
                                                          inducement couldn't have survived JMOL under the
1920, 191 L.Ed.2d 883 (2015). In             Commil,      proper intent standard because it contradicts the court's
for example, we concluded that a jury instruction         express findings regarding Roche's subjective belief
indistinguishable from the district court's statement     that it wasn't infringing or inducing infringement.


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Taken together, these findings mean that Roche
                                                           Nippon [could] be had.”      Id. at 348. Likewise here,
couldn't have acted with knowledge that the acts
                                                           Roche's allegedly inducing acts occurred before the
it brought about “constitute[d] patent infringement”
                                                           damages period. Specifically, Roche's press release,
and couldn't have taken “deliberate actions to avoid
                                                           customer letter, and decision to stop affixing field-
confirming a high probability of wrongdoing” as
                                                           restriction labels occurred solely in 2007, well before
required for willful blindness.    Global-Tech, 563        the damages period. J.A. 6036–38; J.A. 5898; J.A.
U.S. at 765–66, 769, 131 S.Ct. 2060.                       5901–06. 7

The district court's JMOL analysis did not apply the        *7 In sustaining the jury's verdict, the district court
proper intent standard—resulting in an inducement          didn't conclude that Roche committed affirmative acts
determination irreconcilable with its willfulness and      of inducement during the damages period. Rather,
enhancement decisions. In the end, we agree with           despite acknowledging that “Meso was required to
Roche that “[t]he same analysis that led the district      prove that Roche's alleged acts of inducement occurred
court to grant JMOL on willfulness should have led
to a JMOL on inducement” under the proper standard.        during the relevant limitations period,”     Post-Trial
Appellant's Reply Br. 2. Thus, we reverse the induced-     Op., 503 F. Supp. 3d at 169 (citing      Standard Oil,
infringement judgment.                                     754 F.2d at 348), the court posited that acts occurring
                                                           before the damages period could support a finding of
                                                           inducement if they “ ‘continue[d] to have an impact
                                                           and cause[d] third parties to use the products-at-issue
                          B
                                                           outside’ of the licensed patient-diagnostics field after
 [13] Roche also argues that Meso didn't prove it          April 2011.”     Id. (alterations in original) (quoting
committed inducing acts within the patent-damages          J.A. 3688). Then, the court reasoned, “[t]he jury could
limitations period. That period is set forth as follows:   have reasonably found that Roche's announcement
“Except as otherwise provided by law, no recovery          to its customers following its 2007 acquisition of
shall be had for any infringement committed more           BioVeris that there was no longer any restriction on
than six years prior to the filing of the complaint or     how and where its ECL products could be used”
counterclaim for infringement in the action.” 35 U.S.C.
§ 286. Here, that damages period began in April 2011.      satisfies this standard.   Id.

   Post-Trial Op., 503 F. Supp. 3d at 169. On this         The district court did not cite any points of authority
point, too, we agree with Roche.                           for this “continuing-impact” standard, and neither does
                                                           Meso. 8 Further, this proposition is (at a minimum)
To be clear, Roche's argument isn't that the alleged
                                                           in significant tension with the reasoning of Standard
infringement occurred outside the six-year period.
                                                           Oil—which rejected a similar argument, i.e., that
Rather, it's that the alleged acts of inducement did.
                                                           neither induced nor contributory infringement “can
In so arguing, Roche relies on    Standard Oil Co. v.
                                                           exist until there is a direct infringement.” 754 F.2d
Nippon Shokubai Kagaku Kogyo Co., 754 F.2d 345
                                                           at 348. That line of reasoning, we observed, “is like
(Fed. Cir. 1985). In that case, Nippon was accused
                                                           saying that the laying of an egg takes place when the
of “inducing infringement” by supplying a catalyst
                                                           egg hatches or that a sale takes place when the buyer
to another company that directly infringed a patented
                                                           uses the purchased product.”       Id. To the contrary,
process. Id. at 347. Writing for the court, Judge Rich
                                                           we explained: “If Nippon's acts ever gave rise to a
explained that the “determinate fact” was that “all of
                                                           liability, the liability arose as of the time the acts
the acts of Nippon complained of took place and were
                                                           were committed, not at some future date determined
over and done with” more than six years before the
                                                           by the acts of others.”    Id. Under a straightforward
infringement suit began.    Id. Therefore, since “[n]o
act of Nippon within the six years prior to suit [was]     application of   Standard Oil, Roche's press release,
complained of,” it followed that “no recovery against      customer letter, and removal of field restrictions



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cannot support the jury's induced-infringement verdict    customers to infringe. See Cross-Appellant's Br. 36.
because the evidence indicates—and Meso doesn't           Even under the district court's “continuing-impact”
dispute—that none of these acts occurred within the       principle, therefore, the jury's verdict cannot stand.
damages period.

 [14] Meso argues also that Roche did indeed commit
                                                                             III. DAMAGES
inducing acts during the damages period because
Roche “sold the products without restrictive labels        *8 Roche also challenges the district court's denial
throughout the damages period.” Cross-Appellant's Br.     of its motion for a new trial on damages. Given
36. But sales without restrictive labels are not acts     our decision to reverse the induced-infringement
of inducement where, as here, the products have both      judgment, we vacate the damages award and remand
in-field (non-infringing) and out-of-field (infringing)   for a new trial on damages. See Omega Pats., LLC v.
applications.   Takeda Pharms. U.S.A., Inc. v. West-      CalAmp Corp., 920 F.3d 1337, 1350 (Fed. Cir. 2019)
Ward Pharm. Corp., 785 F.3d 625, 630 (Fed. Cir.           (“[T]he ‘normal rule would require a new trial as
2015) (“The sale of a lawful product by lawful            to damages’ when the jury renders a single verdict
means, with the knowledge that an unaffiliated[ ]         on damages and liability as to a subset of asserted
third party may infringe, cannot, in and of itself,       claims [that] has been set aside on appeal.” ” (quoting
constitute inducement of infringement.” (cleaned             Verizon Servs. Corp. v. Vonage Holdings Corp.,
up)); see generally       id. at 630–32. Even Meso        503 F.3d 1295, 1310 (Fed. Cir. 2007)). Additionally,
appears to acknowledge this. Cross-Appellant's Br.        given the circumstances presented here—which we
37 (recognizing that “Roche's thousands of post-2011      recount briefly below—the parties and the district
infringing sales may not be acts of inducement on their   court should proceed on remand with careful attention
own”). Indeed, Meso confirmed at oral argument that       to the apportionment requirement set forth in our
using Roche's immunoassay instruments necessarily         caselaw.

practices the    '779 and      '729 patent claims and     Before trial, the district court precluded Meso's
that whether a use fell “outside the field restriction”   damages expert from offering his reasonable-royalty
turned on “the use to which the running of the machine
was going to be put.” Oral Arg. at 21:30–22:33,           opinion due to various errors in that opinion. Post-
No 21-1609, https://oralarguments.cafc.uscourts.gov/      Trial Op., 503 F. Supp. 3d at 174. For that reason,
default.aspx?fl=21-1609_11022021.mp3.                     “the jury did not hear a reasonable royalty rate
                                                          opinion” from Meso's expert.     Id. The expert “was
Last, even if        Standard Oil doesn't foreclose       permitted to testify about a royalty base,” however,
the district court's “continuing-impact” standard, we     “which he calculated to be between $170 million
reach the same conclusion because Meso didn't             and $183 million.”       Id. And, in the context of
provide evidence of causation between the allegedly
                                                          analyzing the     Georgia-Pacific factors, 9 “he was
inducing acts (before the damages period) and the
                                                          further permitted to present his estimate of the profit
direct infringement (within the damages period).
                                                          margin Roche earned on these sales,” which “he opined
Specifically, Meso put forward no evidence that any
                                                          was roughly 75% during the relevant damages period.”
customers purchasing Roche's products during the
damages period received the 2007 communication                Id. (internal quotation marks omitted). The expert
and, in reliance on it, used the products out-of-         illustrated this testimony with the following graphic:
field. And merely assuming that there were such
customers is especially speculative here, in view of
Roche's significant sales growth during that timeframe.
J.A. 4658–59. For similar reasons, Meso's argument
that Roche induced infringement because it “never
withdrew” its 2007 guidance also fails, at least
because Meso didn't show that this omission caused


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                                                              (and in fact did make) significant convoyed sales.”
                                                                 Id. It then expressed that, “[o]n this reasonable view
                                                              of the evidence,” Meso's expert's “estimations of the
                                                              royalty base and Roche's profits were conservative;
                                                              in fact, an appropriate royalty base could have been
                                                              higher than $183 million.”       Id. The court also
                                                              indicated that the “jury could have further credited
                                                              evidence showing Roche's ECL business regularly
                                                              outperformed Roche's estimates, which again would
                                                              support a higher royalty base,” and it noted that “in
                                                              the 2003 [l]icense—which was executed right around
                                                              the time of the hypothetical negotiation—Roche had
                                                              agreed to a 65% royalty rate for out-of-field sales.”
                                                                 Id. “Taking all this into account,” the district
                                                              court concluded, “the jury could have arrived at its
                                                              damages award by multiplying the 65% royalty rate
                                                              negotiated for in the 2003 License times a royalty
   Id. at 175. And later, during closing arguments,           base of approximately $211 million, which is a base
“Meso's counsel told the jury: ‘we believe that what is       supported by sufficient evidence, once convoyed sales
right is that Meso ... should get the profits, the profits    and [Meso's expert's] arguably[ ]conservative royalty
on the $183 million that Roche made in our lane [that
                                                              base assumptions are considered.”       Id.
is, out-of-field sales].’ ”     Id. at 175 (alterations in
original) (quoting J.A. 4816).                                 *9 In response to Roche's characterization of the
In denying Roche's post-trial motions, the district court     damages award as the product of “speculation or
noted that, although “the verdict sheet did not ask the       guesswork,” the court stated that “[r]easonable minds
jury to disclose the royalty rate or base it found,” “[t]he   could differ on this point” and ultimately concluded
jury's damages award of $137,250,000 can be arrived           that “the slightly better view of the record is that the
at (exactly) by multiplying $183 million by 75%.”             damages award was not based only on speculation
   Id. at 175–76. The district court also expressed           or guesswork.”         Id. at 178. And on Roche's
that “Roche present[ed] powerful challenges to the            apportionment challenge, the district court reasoned
jury award.”     Id. at 175. For instance, Roche argued       that “the jury was presented sufficient evidence
that the jury's award reflected “no apportionment for         from which it could have reasonably determined (1)
the value attributable to the infringing features of the      the asserted claims were essential to practice ECL
product,” and that “the jury's award amounts to a             technology, (2) ECL technology was the key driver
disgorgement of all of Roche's profits, as expressly          of demand for Roche's accused products sold out-of-
invited by Meso's counsel, which is not permitted by          field,” and “thus, (3) a high reasonable royalty award

patent law.”    Id. (internal quotation marks omitted).       was appropriate.”     Id. at 177.
Ultimately, however, the district court concluded
the jury's “presumed findings ... are supported by             [15] [16] [17] On appeal, Roche again challenges
sufficient evidence,” so it upheld the damages verdict.       the $137,250,000 damages award, which it says
                                                              “awarded 100% of the profits from all infringing sales
   Id. at 176.                                                based on infringement of three patents (out of the 100+
                                                              patents) applicable to ECL technology.” Appellant's
As possible support for the jury's verdict, the district      Br. 45–46. As we have previously explained, “where
court noted testimony that “the asserted claims ‘cover        a royalty is at issue, ‘[n]o matter what the form of
core aspects of ECL technology,’ around which Roche           the royalty, a patentee must take care to seek only
could not design ..., and that Roche expected to make         those damages attributable to the infringing features.’


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” Omega Pats., LLC v. CalAmp Corp., 13 F.4th 1361,            judgment, which resulted from a misapplication of the
1376 (Fed. Cir. 2021) (alteration in original) (quoting       compulsory-counterclaim rule. See Fed. R. Civ. P. 13.
   VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1326
                                                              The district court rendered a judgment of
(Fed. Cir. 2014)). “Consequently, to be admissible, all
                                                              noninfringement with respect to these three patents
expert damages opinions must separate the value of
                                                              because, although they were listed in Roche's
the allegedly infringing features from the value of all
                                                              declaratory-judgment complaint, Meso did not
other features.” Commonwealth Sci. & Indus. Rsch.
                                                              counterclaim for infringement of these patents.
Org. v.    Cisco Sys., Inc., 809 F.3d 1295, 1301 (Fed.
                                                                 Post-Trial Op., 503 F. Supp. 3d at 170. The district
Cir. 2015) (citing     VirnetX, 767 F.3d at 1329). And,       court reasoned that, because patent-infringement
particularly relevant to the district court's license-based   counterclaims are compulsory in an action for
rationale, while “a damages theory that is dependent          declaration of non-infringement of those patents,
on a comparable license (or a comparable negotiation)         Roche was entitled to a judgment of noninfringement.
may in some cases have built-in apportionment,”
                                                                  Id. Meso's argument on cross-appeal is twofold: (1)
the license “must be sufficiently comparable in that
                                                              the compulsory-counterclaim rule bars claims in future
principles of apportionment were effectively baked
                                                              actions but does not authorize rendering judgment
into the purportedly comparable license.” Omega, 13
                                                              in the same action, and (2) in any event, Roche's
F.4th at 1377 (cleaned up).
                                                              complaint was so generic and nonspecific that it did not
                                                              trigger the compulsory-counterclaim rule as to these
In Omega, for instance, we noted that “each of ...
                                                              patents. Cross-Appellant's Br. 67–73.
eighteen proffered licenses involve[d] numerous
patents, in contrast to a hypothetical negotiation
                                                               *10 [19] We agree with Meso that the best
for a single-patent license,” and we concluded that
                                                              understanding of the compulsory-counterclaim rule
“Omega did not present to the jury a basis in fact
                                                              is that it bars future claims but does not authorize
to associate the royalty rates used in prior licenses
                                                              rendering adverse judgment on such claims in the
to the particular hypothetical negotiation at issue.”
                                                              same action. This view is consistent with the
13 F.4th at 1380–81 (cleaned up). Similarly here,
                                                              advisory committee notes of the Federal Rules of
we take Roche's apportionment argument to be that
                                                              Civil Procedure, which describe the rule as being
Meso hasn't demonstrated the requisite comparability
                                                              triggered by entry of judgment in an action: “If the
between the 2003 license (to the 100+ BioVeris
                                                              action proceeds to judgment without the interposition
patents) and the hypothetical negotiation undergirding
                                                              of a counterclaim as required by subdivision (a)
the jury's reasonable-royalty award. At least for this
                                                              of this rule, the counterclaim is barred.” Fed. R.
reason, Roche's challenge to the jury's verdict is indeed
                                                              Civ. P. 13 advisory committee's note to 1937 rules
“powerful.”      Post-Trial Op., 503 F. Supp. 3d at 175.      (emphasis added). Moreover, the Supreme Court and
That said, we need not decide whether the district            this court have described the rule in ways that
court erred in assessing the sufficiency of the evidence
                                                              support that understanding.    Baker v. Gold Seal
on apportionment, as the parties agree that reversing
                                                              Liquors, Inc., 417 U.S. 467, 469 n.1, 94 S.Ct.
on induced infringement but not direct infringement
                                                              2504, 41 L.Ed.2d 243 (1974) (“A counterclaim
would require a new damages trial. Oral Arg. at
                                                              which is compulsory but is not brought is thereafter
8:26–9:29, 31:08–32:10. Accordingly, we vacate the
damages award and remand for a new trial on damages.          barred.” (emphasis added));        S. Constr. Co. v.
                                                              Pickard, 371 U.S. 57, 60, 83 S.Ct. 108, 9 L.Ed.2d
                                                              31 (1962) (“The [compulsory-counterclaim rule] was
                                                              particularly directed against one who failed to assert a
                 IV. CROSS-APPEAL
                                                              counterclaim in one action and then instituted a second
[18] In its cross-appeal, Meso challenges the district        action in which that counterclaim became the basis

court's noninfringement judgment as to the           '536,    of the complaint.” (emphasis added));        Polymer
                                                              Indus. Prods. Co. v. Bridgestone/Firestone, Inc., 347
   '589, and         '225 patents. We vacate that


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F.3d 935, 938 (Fed. Cir. 2003) (“[A] party that              We have considered the parties' remaining arguments
does not assert its compulsory counterclaim in the           but find them unpersuasive. For the foregoing reasons,
first proceeding has waived its right to bring the           we affirm the judgment of direct infringement of
counterclaim and is forever barred from asserting that
                                                                '939 patent claim 33, reverse the judgment of
claim in future litigation.”);    Vivid Techs., Inc. v.
                                                             induced infringement of       '779 patent claim 1 and
Am. Sci. & Eng'g, Inc., 200 F.3d 795, 801 (Fed. Cir.
1999) (citing 6 Charles Alan Wright, Arthur R. Miller           '729 patent claims 38 and 44, vacate the damages
& Mary Kay Kane, Federal Practice and Procedure              award, and remand for a new trial on damages. We also
§ 1417, at 129 (2d ed. 1990) (“[F]ailure to plead a          vacate the district court's judgment of noninfringement
compulsory counterclaim bars a party from bringing a         of the '536, '589, and         '225 patents and remand
later independent action on that claim.”)).                  for further proceedings.

Roche acknowledges that “the compulsory                      AFFIRMED-IN-PART,   REVERSED-IN-PART,
counterclaim issue typically arises when one party files     VACATED-IN-PART, AND REMANDED
a second action involving the same patent,” though it
asserts nonetheless that “a party seeking declaratory
judgment is entitled to such an order in the original
action when its opponent fails to counterclaim or                                   COSTS
present any evidence of infringement with respect to
                                                             The parties shall bear their own costs.
the asserted patent(s) at trial.” Appellant's Reply Br.
35–36; see also id. at 46 (granting that “[t]he cases
on which Meso relies reflect that the compulsory
counterclaim rule arises most frequently in the context      Newman, Circuit Judge, dissenting.
of one party bringing a second action”). For its part,       I respectfully dissent. Roche cannot infringe patents it
Roche cites one case from the Eighth Circuit that            owns.
allowed entry of judgment in the same action due to the
failure to assert a compulsory counterclaim. But that        In 2007, Roche purchased the patents in suit
case provides little analysis and doesn't bind this court.   from IGEN International, via IGEN's patent-
                                                             holding company BioVeris Corporation. Meso Scale
See Schinzing v. Mid-States Stainless, Inc., 415 F.3d
                                                             Diagnostics (MSD or Meso) does not own or have
807, 814 (8th Cir. 2005).
                                                             exclusive rights to these patents, and has no right to
                                                             control their use in areas outside of the designated
Accordingly, we vacate the district court's
                                                             Research Program—as I shall discuss.
noninfringement judgment as to these non-
counterclaimed patents and remand for the district
                                                             I focus on the three patents found infringed at trial:
court to consider the appropriate disposition of any
properly pled declaratory judgment claims of Roche              U.S. Patent No. 5,935,779 (“the '779 patent”),
as to these non-counterclaimed patents. We do not               U.S. Patent No. 6,165,729 (“the '729 patent”),
reach the question of whether Roche's complaint is too
generic to trigger the compulsory-counterclaim rule.         and    U.S. Patent No. 6,808,939 (“the '939 patent”).
If Meso brings a future infringement action based on         The jury found direct infringement of the          '939
those patents, the district court in that action should
                                                             patent and induced infringement of the        '779 and
decide in the first instance whether those claims are
barred.                                                         '729 patents. The majority reverses the judgment of
                                                             induced infringement on statute of limitations grounds,
                                                             but affirms direct infringement of the   '939 patent.
                    CONCLUSION                               However, Roche cannot infringe these patents, directly
                                                             or by inducement, for Roche has owned these patents
                                                             since 2007.



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                                                           profits for the six-year statutory period. The jury
                                                           verdict, which was sustained by the district court, 1 has
                      DISCUSSION                           no support in the evidence. The verdict is contradicted
                                                           by the activity of all parties at the time of the 1995
 *11 In 1995, IGEN and its related company                 license and the ensuing twenty-two years. See Old
Meso Scale Technologies (MST) formed a Joint               Colony Tr. Co. v. City of Omaha, 230 U.S. 100, 118,
Venture whereby a new company named Meso Scale             33 S.Ct. 967, 57 L.Ed. 1410 (1913) (“[T]he practical
Diagnostics (MSD) was formed to conduct a Research         interpretation of a contract by the parties to it for
Program to develop new products and uses in the field      any considerable period of time before it comes to be
of electrochemiluminescence. IGEN granted MSD the          the subject of controversy is deemed of great, if not
exclusive license under IGEN's patents for any such        controlling, influence”). Following is a chronological
new products and uses. This 1995 license is the basis of   outline of relevant transactions and agreements:
MSD's present charge of infringement, as summarized
by Roche:

                                                                                      1.

               Under Meso's interpretation,                The three patents at issue are early patents on various
               IGEN International, Inc. (the               aspects of electrochemiluminescence biotechnology,
               original patent licensor) gave
                                                           with filing dates in 1986 (the       '729 patent), 1988
               complete control of its patents
               to Meso—even as IGEN and                    (the      '779 patent), and 2001 (the    '939 patent).
               its licensee Roche continued                They were all assigned to IGEN International, Inc.
               selling products with pre-                  IGEN developed this basic technology, and marketed
               existing technology covered                 it starting in 1994 with the brand name “Origen.”
               by the patents. Only in this
               litigation, twenty-two years
               after obtaining its license, did                                       2.
               Meso first proffer the license
               interpretation that it, rather than         In 1992 Roche Diagnostics Corp., through
               IGEN, controlled the entirety of            its predecessor Boehringer Mannheim GmbH,
               former IGEN patent claims.                  acquired a non-exclusive license to IGEN's
                                                           electrochemiluminescence technology for use in
                                                           designated diagnostic fields. Roche developed this
Roche Br. 3.                                               field of use, exhibited a new instrument in 1994,
                                                           and commenced sales on receipt of FDA approval in
The record does not support MSD's litigation               1996. Trial testimony of Dr. Ofenlach-Hähnle 877:12–
argument: that in 1995 it was granted sole and             881:16, ECF No. 299. Roche's sales contained a field-
exclusive rights to all of IGEN's past and future          of-use restriction on the product label, in conformity
patents on IGEN's operations. To the contrary,             to Roche's license from IGEN. As testified at the trial,
IGEN continued to operate and improve its existing         Roche's license did not
technology, while MSD proceeded to develop its new
discoveries such as multi-array analysis.
                                                                        include analyzing for life
Nonetheless, my colleagues hold that IGEN in 1995                       science   research   and/or
granted MSD the exclusive rights to the IGEN patents                    development, including at
on the IGEN products, that Roche received nothing                       any pharmaceutical company
when it bought these patents for $599 million, and that                 or biotechnology company,
Roche has been infringing these patents ever since.                     patient self testing use,
Indeed, the jury so found, and awarded MSD Roche's                      drug discovery and/or drug


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            development (including at                   The record states that MSD developed and is selling
            any pharmaceutical company                  several new products, described by MSD's President
            or biotechnology company),                  as “dramatically different” from the IGEN products.
            including clinical research or              Trial testimony of Jacob Wohlstadter, 418:14–419:5,
            determinations in for clinical              ECF No. 297. The MSD products are not here at issue.
            trials or in the regulatory
            approval process for a drug or
            therapy, veterinary, food, water
                                                                                   4.
            or environmental testing or use.
                                                        Concurrently with the Joint Venture Agreement and
                                                        incorporated therein by reference, on November 30,
 *12 Trial testimony of Robert Salsmans, IGEN Board     1995 the parties executed the “IGEN/MSD License
Member, 928:7–25, ECF No. 299. This 1992 license        Agreement,” which exclusively licensed IGEN's
was superseded in 2003 by another non-exclusive         Technology to MSD for products and processes
license from IGEN to Roche, see post, preserving the    developed under the Research Program or related to
field-of-use restriction.                               the Research Technologies. The License Agreement
                                                        defines the licensed subject matter:


                          3.
                                                                    § 2.1. IGEN Technology. IGEN
On November 30, 1995, IGEN, MST, and MSD                            hereby grants to MSD an
entered into a Joint Venture Agreement and License                  exclusive, worldwide, royalty-
Agreement. MSD was “organized for the purpose of                    free license to practice the
conducting [a program] of research and development.”                IGEN Technology to make, use
Joint Venture Agreement at 1. The Joint Venture                     and sell products or processes
Agreement gave MSD the exclusive right to the results               (A) developed in the course
of the Research Program:                                            of the Research Program,
                                                                    or (B) utilizing or related
                                                                    to the Research Technologies;
            § 4.1. Exclusive Vehicle....                            provided that IGEN shall not be
            MST and IGEN agree that                                 required to grant MSD a license
            MSD shall be their and                                  to any technology that is subject
            Wohlstadter's exclusive means                           to exclusive licenses to third
            of conducting the Research                              parties granted prior to the date
            Program and making, using and                           hereof.
            selling products, processes and
            services developed in the course
            of the Research Program in the              License Agreement § 2.1.
            Diagnostic Field, and neither
            MST, IGEN, nor Wohlstadter                  The issue in this appeal is whether this grant to MSD
            shall market directly, or license           included the exclusive right to all IGEN patents and
            others to market, products that             all IGEN technology that had been developed and
            compete with MSD with respect               was being sold by IGEN. The jury so found, and
            to such products, processes, and            my colleagues agree. However, even if the license is
            services.                                   deemed ambiguous, such an unlikely interpretation is
                                                        without support. Two of the three patents, the   '779

Joint Venture Agreement § 4.1.                          and    '729 patents, were filed long before the entry
                                                        of the License Agreement. Although the majority


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reverses infringement as to these patents on limitations
grounds, the majority errs in preserving the theory          A. Well, I'm not sure I would call it lying. I
that the 1995 Agreement transferred these patents to         would say they're not telling the truth just because I
MSD. The majority further errs in creating a novel           wouldn't want to put it in these terms.
theory of forfeiture in order to hold that the 1995
                                                             ***
Agreement implicitly transferred the    '939 patent to
MSD, although it was explicitly assigned to IGEN. See        Q. And in your view, anyone that made that
Maj. Op. at 9.                                               statement was making a false statement to Roche; is
                                                             that correct?
MSD's position is that in 1995 IGEN granted MSD
                                                             A. I think they were making a false, inaccurate
the sole and exclusive right and license to all IGEN
                                                             statement.
past, present, and future patents—notwithstanding the
explicit limitation to technology “developed in the
                                                           It was not disputed at the trial that, whether or not
course of the Research Program” or “utilizing or
                                                           IGEN lied to Roche, IGEN and Roche lived that lie
related to the Research Technologies.” MSD made no
                                                           for the ensuing decade and throughout the life of the
such claim at the time, or when any of the patents was
                                                           patents that IGEN sold to Roche for $599 million,
issued. MSD made no such claim when IGEN sold its
                                                           with IGEN and Roche and even MSD operating as
patent estate of over 100 patents to Roche in 2007.
                                                           if IGEN had the right to sell its patents to Roche in

 *13 Although no document or any other evidence            2007. See Sun-Times Media Grp., Inc. v. Black, 954
supports the MSD position, at the trial MSD's President    A.2d 380, 398 (Del. Ch. 2008) (“When the terms of an
Jacob Wohlstadter, son of Samuel Wohlstadter the           agreement are ambiguous, ‘any course of performance
President of IGEN, told the jury that his father and the   accepted or acquiesced in without objection is given
other officers and directors of IGEN made statements       great weight in the interpretation of the agreement.’
to Roche in 2003 and again in 2007 that were               ” (quoting Restatement (Second) of Contracts § 202)).
“100 percent wrong.” See Trial testimony of Jacob
Wohlstadter 471:2–472:18, ECF No. 298:
                                                                                      5.
  Q. Let's look at Exhibit P-267 ... the current
  restriction on freedom to operate due solely to          In July 2003, IGEN and Roche entered into a successor
  BioVeris license limitations. You were shown this        non-exclusive license agreement, with payment to
  yesterday; is that correct?                              IGEN of $1.4 billion. Roche's non-exclusive license
                                                           again contained field-of-use restrictions, including a
  A. I was.
                                                           restriction to the field of “in vitro diagnostics” and
  Q. Okay. So am I correct that you consider this          restriction on the size of the machines that Roche could
  statement to be inaccurate; is that right?               sell. See Trial testimony of Dr. Keller 999:8–1000:15,
                                                           ECF No. 300 (describing the fields of use).
  A. I did and I do.
                                                           MST and MSD signed a consent to the 2003
  Q. Okay. And you think this is a false statement. Is
                                                           agreement. Roche explained at trial:
  that your position?
                                                             Q. What was the purpose of this particular consent?
  A. I do.
                                                             A. Well, we asked for that because we didn't really
  Q. And so anyone that would make this statement,
                                                             have much clarity about the relationship between
  if they would make this statement to Roche, they
                                                             IGEN and Meso. We wanted to have confirmation
  would be lying in your view; is that right?
                                                             that Meso knew about this license, the relationship,
                                                             that they have not in their minds, which would
                                                             interfere with the license.



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Id. at 997:20–25.
                                                                                     7.
Roche states, without contradiction, that “Even when
                                                           In February 2004, the IGEN-Meso Research Program
asked to consent to the 2003 License from IGEN to
                                                           was terminated. The relevance to the present litigation
Roche, Meso did not assert that Meso—rather than
                                                           is pointed out by Roche:
IGEN—owned all the patent rights for which Roche
would pay IGEN [$1.4 billion].” Roche Br. 15 (citing
Trial testimony of Jacob Wohlstadter 443:11–444:1,
                                                                       Meso then submitted a list of
449:1–5, 451:11–453:25, ECF No. 298); Meso Br. 8.
                                                                       patents to which it claimed
                                                                       rights due to work performed in
                                                                       the Research Program. This list
                           6.                                          contained no mention of Meso
                                                                       holding exclusive rights to any
In 2003, the BioVeris Corporation was created by
                                                                       of the IGEN patents at issue in
IGEN. As described by MSD, “As part of the 2003
                                                                       this lawsuit.
transaction, IGEN transferred its intellectual property,
including its ECL patents, to a new entity called
BioVeris.” Meso Br. 9 (citing Trial testimony of Jacob
                                                           Roche Br. 14 (citing Memorandum from Jacob
Wohlstadter 446:12–16, ECF No. 298).
                                                           Wohlstadter, as President and CEO of MSD, to
                                                           BioVeris Corporation and Meso Scale Technologies
MSD filed a written consent to this transfer and license
                                                           (Feb. 13, 2004); Appx7380. See also id. (submitting
agreement:
                                                           “a cumulative Intellectual Property Position Report” to
                                                           the Joint Venture). The memorandum accompanying
                                                           the Report states:
             *14 MSD and MST hereby
            represent and warrant to
            [IGEN] and its Affiliates that
                                                                       [T]he attached report includes
            each of them hereby waives
                                                                       a cumulative summary of
            any right that either of them
                                                                       all patents, patent applications
            may have to in any way
                                                                       and invention disclosures that
            restrict or limit [IGEN] and
                                                                       may comprise, in whole or
            its Affiliates' exercise of the
                                                                       in part, Licensed Technology
            licenses granted in the License
                                                                       and Developments, MSD
            Agreement during the Term
                                                                       Improvements and/or other
            thereof.
                                                                       discoveries, inventions, or
                                                                       improvements developed in
                                                                       connection with the Research
MSD License Consent (July 24, 2003), Appx 5456–57.
                                                                       Program.

IGEN, BioVeris, and Roche continued to produce and
sell the products and methods that they had developed
and in accordance with the licenses and transfers that     Id. Jacob Wohlstadter's report did not list any of the
existed among them. MSD made no charge that MSD,           three patents here at issue. Id. The trial testimony of
rather than IGEN, BioVeris, or Roche, had exclusive        Jacob Wohlstadter was in accord:
rights to the IGEN patents.
                                                             Q. Okay. And as of that time, you never identified
                                                             the    '939 patent as one of the patents that was
                                                             within that IP position; isn't that correct?



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                                                            is not the situation here. Of course, courts should
  A. No. That was a patent assigned to IGEN....
  [T]here are certain applications that were going to       be wary of “sandbagging,” as warned in            Freytag
  be part of the MSD assigned pool of intellectual          v. Comm'r, 501 U.S. 868, 895, 111 S.Ct. 2631, 115
  property and there were others that were assigned to      L.Ed.2d 764 (1991) (Scalia, J., concurring in part).
                                                            However, here Roche presented arguments supported
  IGEN, and the      '939 was assigned to IGEN.             by evidence in its opening brief, and Meso responded
                                                            —both in footnotes. Roche Br. 27 n.4; Meso Br. 25 n.8.
Trial testimony of Jacob Wohlstadter 399:9–400:14,
                                                            Although presented in footnotes, these arguments were
ECF No. 297.
                                                            fully developed. The majority's holding that Roche
                                                            forfeited this issue defeats “the orderly administration
This uniform understanding cannot now be reversed
                                                            of justice,” instead presenting a trap for the unwary. See
by MSD's attempted revision of history. See    Viking
                                                               Freytag, 501 U.S. at 895, 111 S.Ct. 2631 (Scalia, J.,
Pump, Inc. v. Century Indem. Co., 2 A.3d 76, 101 (Del.
                                                            concurring in part) (quoting 9 C. Wright & A. Miller,
Ch. 2009) (the course of performance in which a party
                                                            Federal Practice and Procedure § 2472 (1971)). The
acquiesced without objection is given great weight in
                                                            judicial obligation is to seek truth and justice, even
interpreting agreement).
                                                            from footnotes. 2
Contrary to MSD's present argument, the 2004 Report
attempted to capture all intellectual property that might
“comprise, in whole or in part, Licensed Technology.”                                  8.
Memorandum from Jacob Wohlstadter as President
and CEO of MSD, to BioVeris Corporation and                 IGEN, BioVeris and Roche continued to practice the
Meso Scale Technologies (Feb. 13, 2004), Appx7380;          IGEN technology, with no assertion by MSD that it
cf. Meso Br. 25 n.8. The 2004 Report constitutes            held the exclusive rights to this technology. “From
powerful, contemporaneous evidence that MSD did             1995 through the sale of BioVeris in 2007, IGEN (later
not believe that any of the patents here at issue           BioVeris) and Roche kept selling ECL products with
were among “all” the patents to which MSD held              microparticles and TPA [tripropylamine] – with no
an exclusive license. See Salamone v. Gorman, 106           objection by Meso.” Roche Reply Br. 4–5. MSD does
A.3d 354, 374 (Del. 2014) (courts may look to               not contradict this statement.
“overt statements and acts of the parties” to interpret
ambiguous contracts).                                       In April 2007 IGEN, through BioVeris, sold its entire
                                                            patent portfolio to Roche for $599 million. At the
There was not substantial evidence by which a               trial, Roche explained that by acquiring complete
reasonable jury could conclude that the 1995 License        ownership of the patents under which it was operating,
Agreement or any other document afforded MSD                the field-of-use restrictions no longer existed. Roche
exclusive rights to the patents here at issue. The years    so informed its customers:
of acquiescence in the IGEN and BioVeris and Roche
practice of the patents, and MSD's failure to claim any
right in any patent, negate MSD's present accusation                     Roche is now the owner of
and my colleagues' ruling.                                               the complete patent estate of
                                                                         the electrochemiluminescense
 *15 The majority now disregards the undisputed                          (ECL) technology deployed in
evidence of MSD's acceptance of Roche's rights,                          the Elecsys product line which
because Roche mentioned that evidence in a footnote.                     gives us the opportunity to
Maj. Op. at 9 (citing ConocoPhillips v. United                           expand our immunochemistry
States, 501 F.3d 1374, 1381 (Fed. Cir. 2007)). In                        business from the human
ConocoPhillips an argument was deemed forfeited                          diagnostic field into new
because it consisted of “a single conclusory statement”                  market segments such as life
and was “made in passing.” 501 F.3d at 1381. That                        science research, life science


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                                                          BioVeris had no right to sell these patents to Roche
                                                          in 2007, because MSD held the exclusive patent
            development,       patient    self            rights. The jury agreed with MSD, and my colleagues
            testing, veterinary testing, drug             now affirm the jury verdict. This verdict cannot be
            discovery, drug development
                                                          sustained, for the reasons I have discussed. 3
            and clinical trials.



Joint Trial Ex. 512, Appx5898; see also Trial testimony                       CONCLUSION
of Scott Griffin 1425:18–1426:2, ECF 301.
                                                           *16 Substantial evidence does not support the jury
                                                          verdict. The plain reading of the several agreements
The record does not show any intervention by MSD
                                                          and the testimony of witnesses for both sides was
to prevent the sale to Roche. However, the record
                                                          overwhelmingly in conformity with the contracts for
states that after several years, MSD began threatening
                                                          the various transactions, including the 2007 sale of
Roche's customers with lawsuits for infringement
                                                          the IGEN/BioVeris patents to Roche. MSD's actions
– whereby Roche in 2017 brought this declaratory
                                                          before and after the 2007 sale conformed to this
action.
                                                          understanding of the 2007 sale to Roche. From the
                                                          panel majority's contrary ruling, I respectfully dissent.

                          9.
                                                          All Citations
On Roche's filing of this declaratory action, MSD
counterclaimed for infringement of patents that MSD       --- F.4th ----, 2022 WL 1052320
states it exclusively licensed from IGEN in 1995
or later. MSD's position at trial was that IGEN and




                                                  Footnotes


1      Judge Newman's dissent would reverse on both induced infringement and direct infringement
       because, it argues, Meso doesn't have a license to the asserted patent claims. Lest there be any
       confusion, the dissent agrees with us that the induced-infringement judgment cannot stand. The
       difference is in our reasoning. We reverse that judgment without reaching the question of Meso's
       license rights (contrary to the dissent's suggestion otherwise, Dissent at 3, 5), while the dissent
       would resolve that question against Meso. It is therefore only with respect to the single patent
       claim asserted to have been directly infringed that the dissent would reach a different result, since
       we conclude Meso does have license rights in that patent claim.
2      Namely, “use in hospitals (except where the performance of the Assay takes place at the side of
       the patient), blood banks[,] and clinical reference laboratories.”        Post-Trial Op., 503 F. Supp.
       3d at 163 (quoting J.A. 4968).
3
       This term includes the asserted patents in this case.         Post-Trial Op., 503 F. Supp. 3d at 164.
4      Section 2.5.1 of the agreement provides: “a product shall be deemed to have been developed
       if (i) it is submitted for FDA approval, (ii) it is declared developed by the Board of Managers, or
       (iii) it has been developed sufficiently to be submitted for FDA approval, notwithstanding failure
       of [Meso] to do so.” J.A. 5116.
5      Because we reverse on these grounds, we need not reach Roche's patent-exhaustion defense.
6      Meso did not cross-appeal the district court's willfulness decision. Cross-Appellant's Br. 42 n.11.


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7
       Like in     Standard Oil, our analysis on this point assumes “for the sake of argument” that these
       acts would have sufficed for inducement had they occurred during the damages period.                754
       F.2d at 348.
8      Instead, the district court simply adopted this standard “[i]n the context of resolving jury instruction
       disputes.”        Post-Trial Op., 503 F. Supp. 3d at 169; see J.A. 4648 (Meso's counsel arguing that
       “it is critical that the jury be told that ... [for] inducement, they can consider Roche's statements and
       actions from before April 2011 and the effect that those had on customers['] use of the products
       after April 2011”).
9
       See       Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970), modified
       sub nom.       Georgia-Pacific Corp. v. U.S. Plywood-Champion Papers, Inc., 446 F.2d 295 (2d
       Cir. 1971).
1
          Roche Diagnostics Corp. v. Meso Scale Diagnostics, LLC, 503 F. Supp. 3d 156 (D. Del. 2020)
       (“Post Trial Op.”).
2
       This court's hostility to footnotes appears to be rooted in Graphic Controls Corp. v. Utah Med.
       Prod., Inc., 149 F.3d 1382 (Fed. Cir. 1998). There, the parties attempted to evade Rule 28 of
       Federal Appellate Procedure by incorporating arguments from the joint appendix by reference
       in footnotes.     Id. at 1385. Neither party has attempted such impropriety here. This court has
       also recognized that, as with all equitable doctrines, forfeiture “is ‘not to be applied in a ritualistic
       fashion.’ ” Omega Pats., LLC v. CalAmp Corp., 920 F.3d 1337, 1342 (Fed. Cir. 2019) (quoting 9B
       Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 2472 (3d ed. 2018)).
3      The panel majority misunderstands my dissent. Cf. Maj. Op. at 2 n.1. As explained, these patents
       were not developed under the Research Program and were all owned by IGEN. Accordingly,
       Roche does not infringe because Roche owns the patents it bought from IGEN. If I have not been
       sufficiently clear, I repeat that the patents in this suit are all patents that Roche bought from IGEN,
       not patents owned or licensed exclusively to Meso. And since Roche cannot directly infringe these
       patents, its customers cannot indirectly infringe them.


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